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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-CIV-81254-RAR

  ARCHIE MALONE,

         Plaintiff,
  v.

  ACCOUNTS RECEIVABLE
  RESOURCES, INC.,

        Defendant.
  ________________________/

                                        FINAL JUDGMENT

         THIS CAUSE comes before the Court upon the Order Granting Plaintiff’s Motion for

  Summary Judgment and Denying Defendant’s Motion for Summary Judgment [ECF No. 60]

  (“Order”) filed on October 6, 2019. For the reasons stated in the Order, and pursuant to Rules 55

  and 58 of the Federal Rules of Civil Procedure, it is

         ORDERED AND ADJUDGED that judgment is hereby entered in favor of Plaintiff,

  Archie Malone, and against Defendant, Accounts Receivable Resources, Inc. as follows:

         1.      Plaintiff is ENTITLED to damages under the Fair Debt Collections Practices Act.

  To determine the sum of damages, Plaintiff must file a Motion for Damages on or before October

  18, 2019.

         2.      The Court retains jurisdiction over any motion for attorney’s fees or costs, any post-

  judgment matter that may be raised pursuant to the Federal Rules of Civil Procedure, and any

  motions that raise issues collateral to the Final Judgment.

         3.      All pending motions are DENIED AS MOOT.




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        4.     The Calendar Call scheduled for October 8, 2019 is CANCELLED. The above-

  styled action is REMOVED from the two-week trial period beginning on October 14, 2019.

        5.     The Clerk is directed to CLOSE this case.



        DONE AND ORDERED in Fort Lauderdale, Florida, this 7th day of October, 2019.




                                                        _________________________________
                                                        RODOLFO RUIZ
                                                        UNITED STATES DISTRICT JUDGE




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